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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

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In re : Chapter 11
RathGibson, Inc., ct al.’ : Case No. 09-12452 (CSS)
Debtors. : Jointly Administcred

ee aaa X Ref. Docket No. 15
INTERIM ORDER: (1) PURSUANT TO 11 U.S.C, §§ 105, 361, 362, 363 AND 364
AUTHORIZING THE DEBTORS TO (A) OBTAIN POSTPETLTION FINANCING AND
(B) GRANT SENIOR LIENS AND SUPERPRIORITY ADMINISTRATIVE EXPENSE
STATUS; (IT) APPROVING USE OF CASH COLLATERAL OF PREPETITION
LENDER; (111) GRANTING ADEQUATE PROTECTION TO PREPETITION LENDER;
(IV) SCHEDULING A FINAL IIEARING PURSUANT TO BANKRUPTCY RULES
4001(b) AND 4001(c): AND (V) GRANTING RELATED RELIEF
‘This matter is before the Court on the motion dated July 13, 2009 (the “Motion”
of RathGibson, Inc. (“RathGibson” or the “Borrower”), Greenville Tube Company
(“Greenville”) and RGCH Iloldings Corp. (“RGCH”, and together with RathGibson and
Greenville, the “Debtors’), three of the debtors and debtors-in-possession in the above-
referenced chapter 11 cases (collectively, the “Chapter 11 Cases”), for entry of an interim order
(this “Interim Order”) and a final order (the “Final Order’), under sections 105, 361, 362, 363(c),
363(e), 364(c), 364(d)\(1) and 364(c) of title 11 of the United States Code, 11 U.5.C. §§ 101-
1§32 (as amended, the “Bankruptcy Code”), and Rules 2002, 4001, 6004 and 9014 of the Federal
Rules of Bankruptcy Procedure (as amended, the “Bankruptcy Rules”) and Rules 2002-1{b),

4001-1, 4001-2 and 6004-1 of the Local Rules of Bankruptcy Practice and Procedure of the

 

The last four digits of the taxpayer identification numbers of the Debtors in the above-captioned cases
follow in parentheses: (i) Greenville Tube Company (2689), (ii} RathGibson, Inc. (3283); (iii) RG ‘Tube
Holdings LI.C (4080); and (iv) RGCH Holdings Corp. (9683). Such Debtors’ excoutive headquarters’
address is 475 Half Day Road, Suite 210, Lincolnshire, Mhnois 60069.

All defined terms shall have the meaning ascribed to them in the Motion or the applicable DIP Documents
(as defined herein) unless otherwise detined herein.

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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 2 of 41

United States Bankruptey Court for the District of Dclaware (the “Local Rules”), seeking, among
other things:
(1) authorization for RathGibson, to obtain secured postpetition financing
{the “DIP Facility”) pursuant to the terms and conditions of that certain Secured Super-
priority Debtor-in-Possession Multiple Draw Term Loan Agreement, dated as of July 13,
2009, by and among RathGibson, as Borrower, Greenville and RGCH, as euarantors,
Wilmington Trust Company FSB as Administrative Agent (in such capacity, the “DIP
Agent”) and the lenders from time to time party thercto (the “DIP Lenders”, and together
with the DIP Agent, the “DIP Parties”), substantially in the form allached hereto as
Exhibit A (as the same may be amended, restated, supplemented or otherwise modified
from time to time pursuant to the terms thercof, the “DIP Agreement,” and together with
any Telaled certificates, agreements, documents and instruments (including any
amendments, restatements, supplements or modifications of any of the forceoing)
delivered pursuant to or in connection therewith (including the “Loan Documents” under
and as delined therein), collectively the “DIP Documents”);
(2) authorization for the Dcbtors to execute and cnter into the DIP
Documents and to perform their respective obligations thereunder and such other and
further acts as may be required in connection with the DIP Documents, including,
without limitation, the payment of all principal, interest, fees, expenses and other
amounts payable under the DIP Documents as such amounts become due and payable;
(3) authorization for the Debtors to grant security interests, liens and
superprionty claims (including a superpriority administrative claim pursuant to section

364(¢}(1) of the Bankruptcy Code, licns pursuant to sections 364(c)(2) and 364(c)(3) of

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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 3 of 41

the Bankruptcy Code and priming liens pursuant to scction 364(d)(1) of the Bankruptcy
Code) to the DIP Agent, for the benefit of the DIP Parties, in the DIP Collateral (as
defined herein), including, without limitation, all property constituting “Cash Collateral,”
as defined in section 363(a} of the Bankruptcy Code, to secure all obligations of the
Debtors under and with respect to the DIP Facility (collectively, the “DIP Obligations”),
as more fully set forth in this Interim Order;

(4) authorization for the Debtors’ use of Cash Collateral of the Prepetition
Secured Parties (as defined herein) under the Prepetition Credit Documents (as defined
herein), as provided herein, and the provision of adequate protection to the Prepetition
Secured Parties for any Diminution in Value (as defined herein) of their interests in the
Prepetition Collateral (as defined hercin), including Cash Collateral, as sct forth in
Paragraph 12 below;

(5} authorization for the indefeasible repayment in full in cash of all
Prepetition Secured Obligations (the date upon which the Prepetition Secured Obligations
are indefeasibly paid in full in cash and no lenger subject to objection, challenge,
recharacterization, disgorgement or recovery being known as the “Prepetition Secured
Obligations Paydown Date”), subject to the reservation of rights provided in Paragraph
15 below;

(6) an emergency inierim hearing (the “Interim Hearing”) on the Motion
lor this Court to consider entry of this Interim Order;

(7) the scheduling of a final hearing (the “Final Hearing”) on the Motion

for a date that is before the forty-fifth (45th) day after the Petition Date to consider entry

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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 4 of 41

of a Vinal Order authorizing the borrowings under the DIP Facility on a final basis and
approval of notice procedures with respect thereto; and
(8) modification of the automatic stay tmposed under section 362 of the
Bankruptcy Code to the extent necessary to implement and effectuate the terms and
provisions of the DIP Documents and this Interim Order.
This Court having found that, under the circumstances, due and sufficient notice
of the Motion and Interim Hearing was provided by the Debtors as sct forth in Paragraph K
below, and having held the Interim [Tearing on July 14, 2009 after considering ali the pleadings
filed with this Court and as further stated on the record at the Interim Hearing; and this Court
having overruled all unresolved objections to the relief requested in the Motion; and upon the
record made by the Debtors al the Interim Hearing and the Affidavit of Jon M. Smith, Chief
Financial Officer of the Debtors in Support of Chapter 11 Petitions and First Day Motions, and
aller due deliberation and consideration and good and sufficient cause appearing therefor:
THE COURT HEREBY FINDS AND CONCLUDES AS FOLLOWS:
A. On July 13, 2009 (the “Petition Date”), each Debtor filed a petition with this
Court commencing a case under chapter 11 of the Bankruptcy Code. The Debtors are continuing
to operate their respective businesses and manage their respective properties as debtors in
possession pursuant lo sections 1107 and 1108 of the Bankruptcy Code.
B. This Court has subject matter jurisdiction to consider this matter pursuant to
28 ULS.C. § 1334. This is a core procceding pursuant to 28 U.S.C. § 157(b). Venue is proper
before this Court pursuant to 28 U.S.C. $$ 1408 and 1409. The statutory and legal predicaies for

the relief sought here are sections 105, 361, 362, 363 and 364 of the Bankruptcy Code, and Rules

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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 5of 41

2002, 4001, 6004 and 9014 of the Bankruptcy Rules, and L.ocal Rules 2002-1(b), 4001-1, 4001-2

and 6004-1.

C. Without prejudice to the rights of any other non-Debtor party-in-interest with

standing (but subject to the limitations thereon described in Paragraph 15 below), the Debtors

hereby admit, acknowledge, agree and stipulate that:

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(i) Pursuant to that certain Credit Agreement, dated as of February 7,
2006 {as amended on August 15, 2006, June 15, 2007, December 13, 2007, February 27,
2008, April 8, 2008, May 4, 2009, May 15, 2009, June 19, 2009 and June 30, 2009 and as
in effect on the Petition Date, the “Prepetition Credit Avreement™ and together with all

loan and security documents related thereto, the “Prepctition Credit Documents”), by and

 

among RathGibson, as borrower, the other parties designated as “Credit Parties” (as
defined therein) party thereto, the lender party thereto (the “Prepetition Londer”),’
General Electric Capital Corporation (“GECC”), as Administrative Agent (in such
capacity and in the capacity of Collateral Agent under the security documents for the
Prepetition Credit Agreement, the “Prepetition Agent”, and together with the Prepetition
Lender, the “Prepetition Secured Parties’), the Prepetition Lender provided a revolving

credit facility to or for the benefit of the Borrower and the Credit Parties (the “Prepetition

 

Revolving Credit Faciltly”). As of the Petition Date, the aggregate outstanding principal

amount owed by the Debtors under the Prepetition Revolving Credit I'acility was not less

On June 19, 2009, (7) GECC and Wayzata Opportunities Fund iI, L.P. (“Wayzata”), entered into that certain
Assignment and Transition Agency Apreement (the “GECC Assignment Apreement’), and (i) Natixis and
Wayzata entered into that certam Assignment Agreement (the “Natixis Assignment Agreement’, and together
with the GECC Assignment Agreement, the “Assignment Agreements”), pursuant to which GECC and Natixis,
respectively, assigned their interests in and commitments as lenders under the Prepetition Credit Agreement to
Wayzata. Consequently, as of the Petition Date, Wayzata is the sole remaining Prepetition Lender under the
Prepetition Credit Agreement. GECC continues to act as Prepelition Agent under the Prepetition Credit
Documents.

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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 6 of 41

than $55,350,000 with the aggregate undrawn face amount of all letters of credit issued
and outstanding under the Prepetition Credit Agreement being not less than $1,000,000
(collectively, together with any amounts incurred or accrued bul unpaid prior to the
Petition Dale in accordance with the Prepetition Credit Documents, including but not
limited to, accrued and unpaid interest, any reimbursement obligations (contingent or
otherwise) in respect of letiers of credit, any fees, expenses and disburscments), treasury,
cash management, derivative obligations, indemnification obligations, and other charges,
amounts and costs of whatever nature owing, whether or not contingent, whenever
arising, accrued, accruing, due, owing or chargeable in respect of any of the Borrowcr’s
af any other Credit Partics’ obligations pursuant to the Prepetition Credit Documents,
including all “Obligations” under and as defined in the Prepctition Credit Agreement,
collectively the “Prepetition Secured Obligations”);

Gi) To secure the Prepetition Secured Obligations, the Borrowers
granted to the Prepetition Secured Parties a first priorily security interest mm and licn upon
(the “Prepetition Liens”) substantially all of the assets of the Debtors, including without
limitation, all “Collateral? under and as defined in the Prepetition Credit Documents
(collectively, the “Prepetition Collateral”),

(iii) (a) the Prepetition Secured Obligations constitute legal, valid,
enforceable and binding obligations of each of the Debtors; (b) no offsets, defenses or
counterclaims to the Prepetition Secured Obligations exist; (¢) no portion of the
Prepelition Secured Obligations ig subject to avoidance, disallowance, reduction or
subordination pursuant to the Bankruptcy Code or applicable non-bankruptcy law; (d) the

Prepetition Credit Documents arc valid and cnforecable by the Prepetition Sccured

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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 7 of 41

Partics against cach of the Debtors; (e) the Prepetition Liens were perfected as of the
Petition Date and constiiule legal, valid, binding, cnforecable and perfected liens in and
to the Prepetition Collateral and are not subject to avoidance, reduction, disallowance,
disgorgement, counterclaim, surcharge or subordination pursuant to the Bankruptcy Code
or applicable non-bankruptcy law, and such liens had priority over any and all other liens
on the Prepetition Collateral, subject only to certain licns otherwise expressly permitted
by the Prepetition Credit Documenis (lo the extent any such permitted liens were legal,
valid, properly perfected, non-avoidable and senior in priority to the Prepetition Liens as
of the Petition Date or therealier pursuant io section 546(b) of the Bankruptey Code, the
“Permitted Liens”); (f) as of the Petition Date, the value of the Prepetition Collateral
securing the Prepetition Sccured Obligations cxcceded the amount of the Prepetition
Secured Obligations, and the Prepetition Secured Obligations constitute allowed secured
claims against the Debtors’ estates; and (¢) the Debtors and their estates have no claim,
objection, challenge or cause of action against the Prepetition Secured Parties or any of
their respective affiliates, parents, subsidiaries, partners, controlling persons, agents,
attorncys, advisors, professionals, officers, directors and employees, whether arising
under applicable state or federal law (including, without Jimitation, any
recharacterization, subordination, avoidance or other claims arising under or pursuant to
sections 105, 510 or 542 through 553 of the Bankruptcy Code), or arising under or in
connection with any of the Prepetition Credit Documents (or the transactions
contemplated thereunder), the Prepetition Secured Obligations or the Prepetition Licns,

including without limitation, any right to assert any disgorgement or recovery; and (h) the

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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 8 of 41

Assignment Ayreements were negotiated m good faith, and the Debtors’ cntry into the
Assignment Agreements prior to the Petition Date was proper.

D. Without prejudice to the rights of any other non-Debtor party-in-interest (but
subject to the limitations thercon described in Paragraph 15 below), the Debtors hereby agree
and stipulate that:

(i) Pursuant to that certain indenture, dated as of February 7, 2006 (as
supplemenied pursuant to that certain First Supplemental Indenture dated as of August
15, 2006 and as in effect on the date hereof, the “Senior Noles Indenture”), by and
between RathGibson, as issuer, and The Bank of New York, as indenture trustee (im such
capacily, the “Senior Noles Indenture Trustee”), and Cireenville, as guarantor,
RathGibson issued the 11.25% Senior Notes duc 2014 (the “Senior Notes” and the
holders of such Senior Notes, the “Senior Noteholders”, and together with the Scnior
Notes Indenture Trustee, the “Senior Notes Parties”). As of the Petition Date,
approximately $200 million in aggregate principal amount of Senior Notes, plus accrued
and unpaid interest with respect thereto and all reasonable fees, costs and expenses as
provided under the Senior Notes Indenture (collectively, the “Senior Notes Obligations’)
was outstanding; and

(11) (a) the Senior Notes Obligations constitute legal, valid, enforceable
and binding obligations of RathGibson, as issucr, and Greenville, as guarantor; (b) no
offsets, defenses or counterclaims to the Senior Notes Obligations exist; (c) no portion of
the Senior Notes Obligations is subject to avoidance, disallowance, reduction or
subordination pursuant to the Bankruptcy Code or applicable non-bankruptcy law; (d) the

Senior Notes Indenture is valid and enforccable by the Scnior Notes Indenture Trustec

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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 9 of 41

and the Scnior Notcholders against cach of RathGibson and Greenville; (c) the Senior
Notes Obligations constitute allowed unsecured claims against the RathGibson’s and
Greenville’s estates; and (f) the Debtors and their estates have no claim, objection,
challenge or cause of auction against the Senior Notes Parties or any of their respective
affiliates, parents, subsidiaries, partners, controlling persons, agents, attorneys, advisors,
professionals, officers, directors and employces, whether arising under applicable state or
federal law (including, without limitalion, any recharaclenization, subordination,
avoidance or other claims arising under or pursuant to sections 105, 510 or 542 through
553 of the Bankruptcy Code), or whether arising under or in connection with the Senior
Noles Indenture or the transactions contemplated thereunder or the Senior Notes
Obligations, including without limitation, any right to assert any disgorgement or
recovery,

Ei. Based upon the pleadings and proceedings of record in the Chapter 11 Cases,
the Debtors do not have sufficient available sources of working capital and financing to carry on
the operation of their businesses withoul the DIP Facility and use of Cash Collateral. The
Debtors’ ability to maintain business rclationships with thei vendors, supphers and customers,
pay their employees, purchase and supply new inventory and otherwise finance their operations
is essential lo the Debtors’ continued viability. In addition, based on the record presented at the
Interim Hearing: (i) the Debtors’ critical need for financing is immediate and the entry of this
Interim Order is necessary to avoid immediate and irreparable harm to the Debtors’ estates;
(i) in the absence of the DIP Facility and use of Cash Collateral, the continued operation of the
Debtors’ businesses would not be possible and serious and irreparable harm to the Debtors and

their estates would occur; and (iil) the preservation, maintenance and enhancement of the going

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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 10 of 41

concern valuc of the Debtors are of the utmost significance and importance to a successful
reorganization of the Debtors.

F. Given the Debtors’ current financial condition, financing arrangements and
capital structure, and the present state of the economy and the credit markets generally, the
Debtors are unable to obtain sufficient interim and long-term financing from sources other than
the DIP Lenders on terms more favorable than under the DIP Facility and the DIP Documents,
and are not able to obtain unsecured credit allowable as an admimisirative expense under section
503(b)(1) of the Bankruptcy Code. New credit is unavailable to the Debtors withoul providing
the DIP Agent for the benefit of the DIP Lenders the (i) DIP Superpnority Clatms (as defined
herein), and (11) DIP Liens (as defined hercin) in the DIP Collateral (as defined herein), as
provided herein and in the DIP Documents.

G. Based upon the pleadings and proceedings of record in the Chapter 11 Cases,
(i) the terms and conditions of the DIP Facility are fair and reasonable, reflect the Debtors’
exercise of prudent business judgment consistent with their fiduciary duly and are supported by
reasonably equivalent value and fair consideration, (ii) the DIP Facility has been negotiated in
good faith and at arm’s length among the Debtors and the DIP Parties, and
(iii) any credit extended, loans made and other financial accommodations extended to the
Debtors by the DIP Parties have been extended, issucd or made, as the case may be, in “good
faith” within the meaning of section 364(e) of the Bankruptcy Code.

H. An immediate and critical need exists for the Debtors to use the Cash
Collateral (in addition to the DIP Facility) to continue to operate their businesses in the ordinary
course, pay wages, maintain business relationship with vendors, suppliers and customers, make

capital expenditures, make adequale protection payments, generally conduct their business

10

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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 11 of 41

affairs so as to avoid immediate and irreparable harm to their estales and the value of their assets,
and aiford the Debtors adequate time to finalize and exccute documents under the DIP Facility
(subject to and within the limits imposed by the terms of this Interim Order).

I. The Prepetition Secured Parties have consented to the (i) financing
arrangements contemplated by this Interim Order and the DIP Documents and (11) Debtors’
proposed use of Cash Collateral, on the terms and conditions set forth in this Interim Order. Asa
condition to entry into the DIP Documents, the extension of credit under the DIP Facility and the
authorization to use Cash Collateral, (he DIP Parties and the Prepetition Secured Parties require,
and the Debtors have agreed, that proceeds of the DIP Facility shall be used, in each case only in
a manner consistent with the terms and conditions of the DIP Documents and in accordance with
an Approved Budget (as defined herein), solely for (v) working capital, capital expenditures and
for other general corporate purposes, (w) adequate protection payments, as provided for
hereunder, (x)the permitted payment of costs of administration of the Chapter 11 Cases,
(y) payment of such prepetition expenses as are consented to by the DIP Parties and approved by
the Court, and (z) in connection with the Initial Draw (as defined herein) under the DIP [acility,
the repayment in full in cash of all Prepetition Secured Obligations (including, to the cxtent
necessary, for cash collatcralization of letters of credit issucd and then outstanding under the
Prepetition Credit Agreement). ‘he repayment in full in cash of the Prepetition Secured
Obligations is neccessary, as the Prepetition Secured Partics will not otherwise consent to the DIP
Lenders extending the DIP Facility and credit to the Debtors under the DIP Documents and as
provided hercunder, and the Prepetition Secured Parties have not otherwise consented to the use
of their Cash Collateral or the subordination of their liens to the DIP Liens. The consent of the

Prepetition Secured Parties is expressly limited to the postpetition financing being provided by

11

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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 12 of 41

the DIP Lenders and the use of Cash Collateral (as contemplated by this Interim Order and the
DIP Documents) and the provision of adequate protection herein, and shall not extend to any
other posipetition financing or to any modified version of the DIP Facility or io any modified
version of the use of Cash Collateral.

J. The Prepetition Secured Partics are cach entitled to receive adequate
protection as sect forth in this Interim Order pursuant to sections 361, 363 and 364 of the
Bankruptcy Code, as sct forth in Paragraph 12 below, for any diminution in the value of cach of
their respective interests in the Prepetition Collateral (including Cash Collateral} resulting from,
among other things, the Debtors’ use, sale or lease of such collateral, market value decline of
such collateral, the imposition of the automatic stay, the priming (to the extent provided for
herein) of the Prepetition Viens and the subordination to the Carve-Out (defined below) and the
DIP Liens (as herein defined) (collectively, and solely to the extent of any such diminution in
value, the *Diminution in Value”).

K. ‘Tclephonic, facsimile notice or overnight mail notice of this Interim Hearing
and the proposed entry of this Interim Order has been provided to: (i) the twenty (20) largest
unsecured creditors of each Debtor; (11) the Office of the United States Trustee for the District of
Delaware (the “U.S. ‘Trustee”); (iii) the Securities and Exchange Commission; (iv) counsel to the
DIP Agent; (v) counsel to the Prepetition Agent; (vi) the Senior Notes Indenture Trustee; (vii)
Credit Suisse, as Administrative Agent for the 13.25% pay-in-kind notes due 2015; (viii) all
known partics asserting a licn against the Collateral (as reflected on schedule §.2 of the DIP
Facility); Gx) each of the financial inshiutions lisied in the Debtors’ Motion For Order
Authorizing: (A) Continued Use Of ‘The Debtors* Cash Management System And Procedures;

(B) Maintenance And Continued Use Of Existing Bank Accounts; (C) A Waiver Of Certain

12
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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 13 of 41

Operating Guidelines Relating To Bank Accounts; (D) Waiver Of The Requirements Of Section
345 Of The Bankruptcy Code On An Interim Basis; And (E) Continuaiion Of Intercompany
‘Transactions And According Administrative Expense Status To Claims For Such Transactions;
and (x) any other party that has filed a request for notice pursuant to Bankruptcy Rule 2002 or
are required to receive notice under the Bankruptcy Rules (collectively, the “Notice Parties”).
Requisite notice of the Motion and the relief requested thereby and this Interim Order has been
provided in accordance with Bankruptcy Rule 4001, and no other notice need be provided for
entry of this Interim Order.

T.. The Debtors have requested immediate entry of this Interim Order pursuant to
Bankruptcy Rules 4001 (b)(2) and 4001(c)(2). Absent cntry of this Interim Order, the Debtors’
businesses, propertics and estates will be immediately and irreparably harmed. This Court
concludes that entry of this Interim Order is in the best interest of the Debtors’ respective estates
and creditors as its implementation will, among other things, allow for the continued opcration of
the Debtors’ existing businesses and enhance the Debtors’ prospects for successful
reorganization.

Based on the foregoing, and upon the record made before this Court at the Interim
Hearing, and good and sufficient cause appearing therefore,

IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

1. Approval of Interim Order. The Motion is approved on the terms and
conditions set forth in this Interim Order. Any objections that have not previously been
withdrawn are hercby overruled. ‘This Interim Order shall become effective immediately upon

its entry.

13
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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 14 of 41

2, Approval of DIP Documents: Authorily Thereunder. The Debtors are

 

hereby authorized to enter into, and execute and deliver, the DIP Documents, including the DIP
Agreement, and such additional documents, instruments and agreements as may be required or
requested by the DIP Parties to implement the terms or effectuate the purposes of this Interim
Order and the DIP Documents.

3, Validity of DIP Documents. Upon execution and delivery of the DIP

 

Documents, each of the DIP Documents shall constitute, and are hereby deemed (vu be, the legal,
valid and binding obligations of the Debtors party thereto, enforceable againsi each such Debtor
in accordance with its terms. Loans advanced under the DIP Agreement until the Final Hearing
will be made to fund the Debtors’ working capital and general corporate needs, in each case, in
the ordinary course of business to the extent permitted under the DIP Apreement, and to pay
such other amounts as are required or permitted to be paid pursuant to the DIP Agreement, this
Interim Order and any other orders of this Court (including, without limitation, subject to
paragraph 15 below, the indefeasible payment in full in cash of the Prepetition Secured
Obligations). No obligation, payment, transfer or grant of security under the DIP Documents or
this Intenm Order shall be stayed, restrained, voided, voidable or recoverable under the
Bankruptcy Code or under any applicable non-bankruptcy law, or subject to any defense,
reduction, sctotf, recoupment or counterclaim.

4. Authorization to Borrow; Use of Cash Collateral. Upon eniry of this
Interim Order, the Debtors are immediately authorized to borrow from the DIP Lenders under
the DIP Facility in an aggregate principal amount equal to the Prepetition Secured Obligations
plus an additional drawing, of up to $65 million (the “Initial Draw”), subject to the terms and

conditions sct forth in the DIP Documents, and this Inierim Order. Subject to the terms and

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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 15 of 41

conditions of this Interim Order, the DIP Documents and in accordance with the Approved
Budect, the Debtors are authorized to use Cash Collateral until the ‘lermination Date.

5, Use of Proceeds: Repayment of Prepetition Secured Obligations.
From and after the entry of this Interim Order, the Debtors shall use advances of credit under the
DIP Facility only for the express purposes specifically set forth in the this Interim Order, the DIP
Documents and in compliance with the Approved Budect. Immediately upon entry of this
Interim Order, the Debtors are authorized to make the Initial Draw to, among other things,
indefeasibly pay in full in cash the Prepetition Secured Obligations (including, without
limitation, accrued and unpaid interest, fees, expenses, legal fees, disbursement and other
amounts owing under the Prepetition Credit Documents that are contingent and unliquidated and
subsequently become liquidated), subject to the reservation of rights contained in Paragraph 15
of this Interim Order. Upon the Prepetition Secured Obligations Paydown Date, the Prepetition
Secured Obligations shall be deemed to be indefcasibly paid in full in cash and no longer subject
to objection, challenge, recharacterization, disgorgement or recovery.

6. Payment of Adequate Protection, The Deblors are authorized to use
the proceeds of the Loans, in part, to make certain adequate protection payments to the
Prepetition Secured Parties, as provided for in Paragraph 12 of this Interim Order and the DIP
Agreement,

7. Budget. (a) Attached hercto as Exhibit B is a 13-weck budget (the
“Initial Approved Budget’) which reflects the Debtors’ anticipated cumulative cash receipis and
expenditures on a weekly basis and all necessary and required cumulative expenses which the
Debtors expect to incur during each week during the term of the Initial Approved Budget. The

Initial Approved Budget may be amended, supplemented or otherwise modified from time to

15

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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 16 of 41

time by additional budgets (covering any time period covered by a prior budget or covering
additional time periods) prepared by the Debtors in accordance with the terms and conditions of
the DIP Agreement and approved in writing pursuant to the terms of the DIP Agreement by the
DIP Partics (each such additional budget, a “Supplemental Approved Budgct”), in each case,
without further notice, motion or application to, order of, or hearing before this Court; provided

however, that the Debtors shall file copies of each Supplemental Approved Budget with the
Court within five (5) business days of its approval by the DIP Agent. The aggregate, without
duplication, of all items in the Initial Approved Budget and any Supplemental Approved Budgets
shall constitute the “Approved Budget”.

(b) Budget Covenants. The Debtors acknowledge and agree that pursuant to
the terms of the DIP Documents they arc required, among other things, (x) to provide to the DIP
Agent, so as actually to be received by 5:00 p.m. (New York time) on the third Business Day of
cach week, weekly variance reports for the preceding weckly period and on a cumulative basis
from the Petition Date to the report date, comparing actual cash receipts and disbursements to
amounts projected in the Approved Budget, in substantially the same form and detail as
delivered on the Closing Date; (y) by 5:00 p.m. (New York time) on the third Business Day of
each week from the Closing Date until the DIP Termination Date, to deliver io the DIP Agent an
updated, “rolling” 13-week budget which sets forth by line item updated projected receipts and
disbursements for the Debtors during the period commencing from the end of the previous week
through and including thirteen weeks thereafter; provided that the Debtors shall still be subject to
and be governed by the terms of the Approved Budget then in effect and the DIP Parties shall
have no obligation to fund to such updated “rolling budget’? or permit the use of Cash Collateral

with respect thereto until the date on which such updated budget shall constitute an Approved

16
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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 17 of 41

Budget; and (z) by no later than five (5) business days prior to the end of the period covered by
the then applicable Approved Budget, to deliver to the DIP Parties a Supplemental Approved
Budget. The Debtors acknowledge and agree that (i) the incurrence or payment by the Debtors
of expenses (x) other than amounts in connection with the itemized amounts set forth in the
Approved Budget and (y) in excess of the variances permitted by Section 7.11 of the DIP
Agreement, or (i) other violation of the terms and condition of this sub-paragraph (b), shall
constitute a “Default” or “Event of Default” (each as defined in the DIP Agreement), as the case
may be, as provided under the DIP Agreement.

8. Payment of DIP Fees and Expenses, The Debtors are hereby
authorized and directed to pay upon demand all fees, costs, expenses and other amounts payable
under the terms of the DIP Documents and all other reasonable, out-of-pocket fees, costs and
expenses of the DIP Parties in accordance with the terms of the DIP Documents (including,
without limitation, the reasonable, out-of-pocket prepetition and postpetition fees, costs and
expenses of legal counsel, financial advisors and third-party appraisers and consultants advising
the DIP Partics, and any other fees set forth in the Fee Letter, including the DIP Equity (to the
extent applicable)); provided, however, that the reasonable, out-of-pocket fees, costs and
expenses of the DIP Parties in accordance with the terms of the DIP Documents (including,
without limitation, the reasonable, out-of-pocket prepetition and postpetition fees, costs and
expenses of legal counsel, fmancial advisors and third-party appraisers and consultants advising
the DIP Parties), shall be payable until the date of denial by this Court, if any such date occurs,
of the DIP Facility. None of such fees, costs, expenses or other amounts shall be subject to
Court approval or U.S. Trustee guidelines, and no recipient of any such payment shal! be

required to file with respect thereto any interim or final fee application with this Court; provided,

17
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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 18 of 41

however, that coptes of any such invoices (which invoices may be redacted to the extent
necessary, in the DIP Parties” sole and absolute discretion, io delete any information that is
confidential or subject to the aliorney-client privilege or attommey work product) shall be
provided contemporaneously to the U.S. Trustee and counsel to any official unsecured creditors’
committee appointed in these Chapter 11 Cases (the “Committee”), provided further, that the
Court shail have jurisdiction to determine any dispute concerning such invoices, All such unpaid
lees, costs, expenses and other amounts owed or payable to the DIP Parties shall be secured by
the DIP Collateral and afforded all of the priorities and protections afforded to the DIP
Obligations under this Interim Order and the DIP Documents.

9. Indemnification. The Debtors are hereby authorized to indemnify and
hold harmless the DIP Parties (and each of their respective directors, officers, employees, agents,
representatives, attorneys, consultants, advisors and controlling persons, and each of their
successors and assigns) from and against any and all damages, losses, obligations, liabilities,
claims, actions or causes of action, and reasonable costs and expenses (including, without
limitation, reasonable attorney’s fees) incurred or required to be paid by an indemmified party of
every nature and character arising out of or related to or in connection with the DIP Facility or
the DIP Documents or the transactions contemplated thereby and by this Interim Order
(including, without limitation, the exercise by the DIP Parties of discretionary rights granted
under the DIP Facility), to the extent set forth in the DIP Documents and this Interim Order,
provided, that the Debtors shall not have any obligation to indemnify and hold harmless the DIP
Parties under this paragraph 9 with respect to any matter solely resulting from the fraud, gross
negligence or willful misconduct of the indemnified DIP Party, as determined by a court of

competent jurisdiction in a final non-appealable judgment or order. All indemnities of the DIP

18

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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 19 of 41

Parties shall be secured by the DIP Collatcral and afforded all of the priorities and protections
afforded to the DIP Obligations under this Interim Order and the DIP Documents.

LO, DIP Superpriority Claims. In accordance with Bankruptcy Code

 

section 364(c}(1), the DIP Obligations shall constitute claims (the “DIP Superpnonty Claims”)
with priority in payment over any and all administrative expenses of the kinds specified or
ordered pursuant to any provision of the Bankruptcy Code, including, but noi limtied to,
Bankruptcy Code sections 105, 326, 328, 330, 331, 503(b), 506(c), 507(a), 507(b), 726, 1113 and
1114 or otherwise, including those resulting from the conversion of any of the Chapter 11 Cases
pursuant to section 1112 of the Bankruptcy Code; provided, however, that the DIP Superprionty
Claims: (i) shall be subject to the Carve-Out (as defined herein); and (ii) shall not be payable
from or have recourse to the proceeds of Avoidance Actions (as defined herein} unless approved
by the Final Order.

11. Dip Liens. As security for the DIP Obligations, the DIP Partics arc
hereby granted (effective upon the date of this Interim Order, without the necessity of the
execution by the Debtors or the filing or recordation of mortgages, security agreements, lockbox
or control agreements, financing statements, or any other mstrument or otherwisc) valid and
perfected, and unavoidable security interests in, and licns upon (such security instruments and
liens collectively, the “DIP Liens”), any and all present and afler-acquired tangible and
intangible property and assets of the Debtors and their estates, whether real or personal, of any
nature whatsoever, including, without limitation: (1) a pledge of 100% of the capital stock of
each Debtor’s domestic subsidiaries, including, without limitation, a pledge by RGCH of 100%
of its equity interests in RathGibson; (ii) a pledge of the capital stock (or equivalent cquity

interest) of cach of the forcign subsidiaries of the Debtors; provided, however, any such pledge

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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 20 of 41

in stock (or equivalent equily mlerest) of a foreign subsidiary of a Debtor shall be limited to 63%
of the equity interest in cach such forcign subsidiary if, in the judgment of the DIP Lenders, the
pledge of more than 65% of such stock would have materially adverse tax consequences to the
Debtors; (iii) all cash and cash equivalents; (iv) all causes of action and claims (including,
subject to entry of the Final Order, the proceeds of avoidance actions under chapter 5 of the
Bankruptcy Code (the “Avoidance Actions”)), whether pursuant to federal law or applicable
state law, of the Debtors or their estates; and (v) all proceeds and products of each of the
foregoing and all accessions to, substitutions and replacements for, and rents, profits and.
products of each of the foregoing (collectively, the “DIP Collateral”), as follows:

(a) pursuant to section 364(c)(2) of the Bankruptcy Code, subject to
the Carve-Out, a first priority, perfected lien and security interest upon all of the Debtors’
right, title and interest in, to and under all DIP Collateral that is not otherwise
encumbered by a validly perfected unavoidable security interest or lien on the Petition
Date;

(b) pursuant to section 364(c)(3) of the Bankruptcy Code, subject to
the Carve-oul, a junior, perfected lien and security interest (other than as set forth in
clause (c) below) upon all of the Debtors’ right, litle and interest in, to and under all DIP
Collateral which is subject to (i) any validly perfected unavoidable security interest or
lien in existence as of the Petition Date that is not subject to section 352(a) of the
Bankruptcy Code, or (ii) any valid security interest or licn perfected (but not granted)
atter the Petition Date (to the extent such perfection i respect of a pre-Pctition Date
claim is expressly permitted under the Bankruptcy Code) that is not subject to section

§§2(a) of the Bankruptey Code; and

20

DBO2:8425874.6 068401.1001
 

Case 09-12452-CSS Doc48 Filed 07/14/09 Page 21 of 41

(c) pursuant to section 364(d)(1} of the Bankruptcy Code, a first
priority, senior, priming, perfected lien and security interest upon all of the Debtors’

right, tithe and interest in, to a and under the Prepetition Collateral, subject ony 8 oe to of) the

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Carve-Out, and (ii) a valid erfected [i

 

 

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Obligations.
12. Prepetition Secured Credit Facility Adequate Protection. As adequate

 

protection of the Prepetition Liens of the Prepetition Secured Parties in the Prepetition Collatcral
against any Diminution in Value of such Prepetition Liens in the Prepetition Collateral on
account of, among other things: (i) the provisions of this Interim Order granting first priority
priming liens on such Prepetition Collateral to the DIP Parties; (ii) the Debtors’ use of Cash
Collateral, (iii) the use, sale or lease of any other Prepetition Collatcral, or the market value
decline of collateral; (iv) the imposition of the automatic stay pursuant to section 362 of the
Bankruptcy Code; or (v) otherwise, pursuant to sections 361(a), 363(c) and 364(d)(1) of the
Bankruptey Code, the Prepetition Secured Parties are hereby granted, solely to the extent of the
Diminution in Value of the Prepetition Licns in the Prepetition Collateral from and alter the
Petition Date and until the dale upon which the Prepetition Secured Obligations arc paid in full in
cash:
(a) the payment of cash interest on a current basis, calculated at the non-
default rate under the Prepetition Credit Agreement (without prejudice to the right of the

Prepctition Secured Parties to later assert claims for intcrest at the default rate);

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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 22 of 41

(b) payments in cash, promptly, but in no event later than ten (10) days
following receipt by the Debtors of any invoice therefor, of (i) the reasonable fees, costs
and expenses of Stroock & Stroock & Lavan LLP (“Stroock”) and Richards, Layton &
Finger, P.C. (“RLI”’) as legal counsel to the Prepetition Lender, and (ii) the reasonable
fecs, costs, and expenses, including without limitation, legal and other professionals’ fees
and expenses, whether incurred before or afler the Petition Datc, of the Prepetition Agent,
as required under the Prepetition Credit Documents; provided, however, that none of such
fees, costs and expenses of Stroock, RLF or the Prepetition Agent as adequate protection
payments hereunder shall be subject to approval by this Court or the U.8, Trustee, and no
recipient of any such payment shall be required to file with respect thereto any interim or

final fee application with this Court; provided further, however, that the Court shall have

 

jurisdiction to determine any dispute concerning such invoices. Copies of any such
invoices (redacted to remove confidential or attammey-client privileged information) shall
contemporaneously be provided to the U.S. Trustee and any Committee;

(c) continuing valid, binding, enforceable, unavoidable and fully perfected
post-petition replacement liens on and security interests in, subject to the Carve-Out and
the DIP Liens in the DIP Collateral (collectively, the “Prepetition Lender Replacement
Lions”); and

(d) superpriority administrative expense claims (the “Prepetition

Lender Superpricrity Claims”) under sections 503 and 507 of the Bankruptcy Code

 

against the Debtors’ estates to the extent that the Prepetition Secured Lender
Replacement Liens do not adequately protect against the Diminution In Value of the

Prepetition Licns, which Prepetition Lender Superpnority Claims, if any, shall (subject

22
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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 23 of 41

only to the Carve-Out and the DIP Superpriority Claims, and which shall not be payable
from or have recourse to the proceeds of Avoidance Actions unless approved by the Final
Order) have priority in payment over any and al] administrative expenses of the kinds
specified or ordered pursuant to any provision of the Bankruptcy Code, including, but not
limited to, Bankruptcy Code sections 105, 326, 328, 330, 331, 503(b}, 306(c), 507(a),
507(b), 726, 1113 and 1114, or otherwise and meluding those resulting from the
conversion of any of the Chapter 11 Cases pursuant to section 1112 of the Bankruptcy
Code;
provided, however, that in the event the Prepetition Secured Obligations are paid in full m cash,
the adequate protection to be provided to the Prepetition Secured Parties pursuant to this
Paragraph 12, with the exception of the adequate protection provided for in Paragraph 12(b),
shall cease. With respect to the adequaie protection 10 be provided to the Prepetition Secured
Partics pursuant to this Paragraph 12(b) after the payment in full in cash of the Prepetition
Secured Obligations, such amounts shall continue to be paid to the extent they arse [Tom
services provided in connection with any action or investigation regarding the Prepetition
Secured Obligation until an action is adjudicated in a manner adverse to the Prepetition Secured
Parties pursuant to a final order. In the event that any portion of the Prepetition Secured
Obligations ts ordered by the Bankrupicy Court to be reinstated or the proceeds of the repayment
thercof are disgorged (in cither instance solely to the extent that the Prepetition Secured Lenders
hold secured claims), for so long as such portion of the Prepetition Secured Obligations remains
outstanding, the adequate protection provided for in this Paragraph 12 shall be reinstated with
respect to such outstanding Prepetition Secured Obligations until the Prepetition Secured

Obligations Paydown Date as if such payment or repayment thercof had never occurred;

23

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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 24 of 41

provided further, however, that this Interim Order is without prejudice to, and does not constitute

 

a waiver of, expressly or implicitly, the rights of the Prepetition Secured Parties lo seek
additional forms of adequate protection at any time in the event that the adequate protection
provided to the Prepetition Secured Parties hercunder is insufficient to compensate for any
Diminution in Value of their respective Prepetition Liens in the Prepetition Collateral during the
Chapter 1] Cases,

13, No Waiver of Prepetition Credit Agreement Provisions. Except as
otherwise specifically provided in this Interim Order, nothing contained in this Interim Order
shall be deemed a waiver or constitute a consent to the modification of any provision contaimed
in the Prepetition Credit Agreement by the Prepetition Secured Parties, including, but not limited
io, the incurrence or issuance of any indebtedness by the Debtors, the incurrenee of any lien in
connection therewith or the making of any payment by the Debtors; provided, that the Debtors’
compliance with the DIP Facility, including the incurrence of obligations thereunder and
hereunder, shall not constitute a default under the Prepetition Credit Agreement.

14, Carve-Out. Upon the first date (the “Carve-Out Event”) on which the
DIP Agent is entitled to exercise remedies under the DIP Facility due to the occurrence of an
Event of Default and provides written notice thercof to the Debtors (the “Carve-Out_Livent
Notice”), to the extent unencumbered funds are not readily available on such dale to pay
administrative expenses m full, the DIP Liens, DIP Superpriority Claims, Prepetition Secured
Lender Superpriority Claims, Prepetition Secured Lender Replacement liens and Prepetition
Liens shall be subject to the payment of (x) any unpaid fees, costs and expenses that were
accrued or incurred prior to the Carve-Out Event by the professionals retained by the Debtors or

the professionals retained by the Committee in these Chapter 11 Cases (collectively, the

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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 25 of 41

“Professionals”) to the extent allowed by an order of this Court, plus (¥) those fees, costs and

 

expenses incurred by Professionals after the Carve-Out Event and subsequently allowed by order
of this Court, provided that the amounts under (x) and (y) shall not in the aggregate exceed
$2,500,000, plus (z) fees pursuant to 28 U.S.C. § 1930 and to the Clerk of the Court
(collectively, the “Carve-Out’); provided, however, that no portion of the Carve-Oui, DIP
Facility, DIP Collateral, Prepetition Collateral or Cash Collateral shall include, apply to, or be
available for any fees, costs or expenses incurred by any party, including the Debtors or the
Committee, in connection with: (i) the initiation or prosecution of any claims, causes of action,
adversary proceedings, or other litigation against any of the DIP Parties, Prepetition Secured
Parties or Senior Notes Parties, meluding, without limitation, (a) challenging the amount,
validity, extent, perfection, priority, or enforceability of, or asscrting any defense, counterclaim,
or offset to the DIP Obligations, DIP Superpriority Claims or security interests and liens of the
DIP Parties in respect thereof, (b) challenging the amount, validity, extent, perfection, priority, or
enforceability of, or asserting any defense, counterclaim, or offsct to the Prepetition Secured
Obligations, Prepetition Lender Superpriority Claims or security interests and liens of the
Prepetition Secured Parties in respect thercof or (c) challenging the amount, validity, extent, or
enlorceabilily of, or asserting any defense, counterclaim, or offset to the Senior Notes
Obligations or claims of the Senior Notes Parties in respect thereof; or (ii) asserting any claims
or causes of action, including, without limitation, claims or actions to hinder or delay the DIP
Parties’ assertions, enforcement or realization on the DIP Collateral in accordance with the DIP

Documents or this Interim Order; provided, further, however, that no more than $50,000 of the

 

proceeds of the DIP Facility or any proceeds of the DIP Collateral or the Cash Collateral may be

used to (x) fund an investigation by the Committee into the existence of any causes of action or

25

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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 26 of 41

other type of litigation against the Prepetition Secured Parties with respect to the Prepetition
Secured Obligations or the Senior Notes Parties with respect to the Senior Notes Obligations, or
(y} prevent, hinder, or delay any of the DIP Parties’ or Prepetition Secured Parties’ respective
enforcement or realization upon any of the DIP Collateral once an Event of Default has occurred;
or using or seeking to use Cash Collateral or, except to the extent permitted by the terms of the
DIP Documents, selling or otherwise disposing of DIP Collateral, in each case without the
consent of the DIP Partics. Afler receipt of the Carve-Out Event Notice, the Debtors shall
provide notice by facsimile within three (3) Business Days to all Professionals informing them
that a Carve-Oul Event has occurred and further advising them that the Debtors’ ability to pay
such Professionals is subject to and limited by the Carve-Out. Notwithstanding the foregoing, so
long as a Carve-Out Event has not occurred: (i) the Debtors shall be permitted to pay
administrative expenses allowed and payable under sections 330 and 331 of the Bankruptcy
Code, as the same may become duc and payable; and (ii) such payments shall not be applied to
reduce the Carve-Out. Nothing contained herein is intended to constitute, nor should be
construed as consent to, the allowance of any Professional’s fees, costs or expenses by any party
and shall not affect the right of the Debtors, DIP Parties, Committee, U.S. Trustec, or any other
party-in-interest to object to the allowance and payment or any amounts incurred or requested.
13. Reservation of Certain Third Party Rights. The Committee (or any
non-Debtor party-in-interest with standing) shall have a maximum of sixty (60) calendar days
from the date of the Committee’s appointment, but in no event later than seventy-five (75)
calendar days fram entry of this Interim Order, and in the event that no Committee 1s appointed,
all non-Debtor parties-in-interest (including a trustee, if appointed or elected prior to the

Investigation Termination Pate, as defined herein) shall have seventy-five (75) calendar days

26
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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 27 of 41

from the Petition Date (the “Investigation Tcrmination Date”) to investigate the validity,
perfection and/or enforceability of the Prepetition Liens, the Prepetition Secured Obligations and
the Senior Notes Obligations, or to assert any other claims or causes of action against the
Prepetition Secured Parties or the Senior Notes Parties. The Investigation Termination Date may
be extended: (a)(i) solely with respect to investigations of the validity, perfection and
enforceability of the Prepetition Liens and Prepetition Secured Obligations, with the consent of
the Prepetition Secured Partics, and (11) solely with respect to investigations of the validity and
enforceability of the Senior Notes Obligations, with the consent of ihe Senior Notes Indenture
Truslee and the Ad Hoe Committee of Senior Noteholders, in each case, as memorialized in an
order of this Court or (6) pursuant to an order of this Court finding cause for such extension. If
any Committee, or any non-Debtor party-in-interest hereafter vested with authority by this Court
(including any chapter 7 trustee that may be appointed or elected prior to the Investigation
Termination Date, or thereafter for the duration of any litigation commenced by the filing of a
complaint on or prior to the Investigation Termination Date) determines that there may be a
challenge io the validity, perfection and/or enlorceabiliiy of the Prepetition Liens or the
Prepetition Secured Obligations or the Senior Notes Obligations, respectively, by the

Investigation Termination Date, thes-pen—fye—3)-Bosiness-beys—prter iter tetieetothe

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Committee or other non-Debtor party-in-interest hereafter (to the extent such other non-Debtor
party is vested with authority by this Court) shall file and prosecute a complaint or objection
related thereto (each, a “Challenge”), and shall have only until the Investigation Termination
Date to file such objection or otherwise initiate an appropriate action on behalf of the Debtors’

estates setting forth the basis of any such challenge, claim or cause of action. If a Challenge is

27
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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 28 of 41

not filed on or before the Investigation Termination Date (or such other later date as may be
extended as set forth above), then: (a) the agreements, acknowledgements and stipulations
contained in Paragraphs C and D of this Interim Order shall be irrevocably binding on the
Debiors, the Committec and all partics-in-interest and any and all successors-in-interest as to any
of the foregoing, without further action by any party or this Court, and any Committee and any
gther pariy-in-interest and any and all successors-in-interest as to any of the foregoing, shall
thereafter be forever barred from bringing any Challenge with respect thereto; (b) the Prepetition
Liens of the Prepetition Secured Parties shall be deemed to constitute valid, binding, enforceable
and perfected liens and security inleresis nol subjeci to avoidance or disallowance pursuant to the
Bankruptcy Code or applicable non-bankrupicy law; (c) the Prepetition Secured Obligations
shall be deemed to be a {mally allowed claim for all purposes against each of the Debtors and
any subsequent chapter 7 cases, in the amount set forth in Paragraph C, and shall not be subject
to challenge by any party-in-interest as to validity, priority or otherwise; (d) the Senior Notes
Obligations shall be deemed to be a finally allowed claim for all purposes against RathGibson
and Greenville and any subsequent chapter 7 cases, in the amount sct forth in Paragraph D, and
shall not be subject to challenge by any party-in-intercst as to validity or otherwise; and (e) the
Debtors shall be deemed to have released, waived and discharged the Prepetition Secured Parties
and Senior Notes Parties (whether in their prepetition or postpctition capacity}, together with
their respective officers, directors, employees, agents, atlorneys, professionals, affiliates,
subsidiaries, assigns and/or successors, from any and all claims and causes of action arising out
of, based upon or related to, in whole or in part, the Prepetition Secured Obligations or the Scnior
Notes Obligations. The Prepetition Agent and the Senior Notes Indenture Trustee shall

cooperate in all reasonable requests for information in order to assist the Committee in its

28

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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 29 of 41

investigation under this Paragraph 15. Notwithstanding anything to the contrary hereim: (x) if
any such Challenge is timely commenced, the stipulations contained in Paragraphs C and D of
this Inierim Order shall nonetheless remain binding on all partics-in-interest and preclusive
except to the extent that such stipulations are expressly and successfully challenged m such

Challenge; (y) the Prepetition Secured Parties and the Senior Notes Parties reserve all of their

  

rights to coniest on any grouptls any Challengejand (4) the Prepetition Secured Partics and the

Senior Notes Parties shall comply with any and all orders of the Bankruptcy Court in connection

    

Bankruptcy Court issued in connection with such duccessful Challenge. Of 904 OR Qc
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16, Protection of DIP Lenddrs’ Rights. So long as there are any Loans one °
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other amounts outstanding, the DIP Lenders how emp CORRS ES CBP =
Agreement} under the DIP Agprcement or any other DIP Obligations are outstanding, the
Prepetition Secured Parties shall (1) noi lake any action to foreclose upon or recover in
connection with their respective Prepetition Liens or Prepetition Lender Replacement Licns,
olher agreements, or operation of law of this Interim Order, or otherwise exercise remedies
against any DIP Collateral, except to the extent authorized by an order of this Court, (ii) be
deemed to have consented to any release of DIP Collateral authorized under the DIP Documents,
(i111) not file any further financing statements, trademark filings, copyright filings, patent filings,
mortgages, notices of licn or similar instruments, cnter into any control agrecment, or otherwise
take any action to perfect their security interests in the DIP Collateral unless, solely as to this
clause (in), the DIP Agent files financing statements or other documents to perfect the liens

granted pursuant to this Interim Order, or as may be required by applicable state law to continue

29
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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 30 of 41

the perfection of valid and unavoidable Hens or security interests as of the Petition Date and (iv)
not seck to terminate or modify the use of Cash Collateral.

17. Landlord Agrecments. Subject to entry of the Final Order, any
provision of any lease or other license, contract or other agrecment that requires (i) the consent
or approval of one or more landlords or other parties or (ii) the payment of any [ees or
obligations to any governmental entity, in order for any Debtors to pledge, grant, scll, assign, or
otherwise transfer any such leasehold interest, or the proceeds thereof, or other post-petition
collateral related thereto, is hereby deemed unenforceable and shall have no force and elTect with
respect lo the transactions granting post-petition hens im such leasehold interest or the proceeds
of any assignment and/or sale thercof by any Debtor, in favor of the DIP Lenders or Prepetition
Lender in accordance with the terms of the DIP Documents, this Interim Order or the [inal
Order.

18. Bankruptcy Code Section 506(c) Waiver. Upon the entry of the Final

 

Order, the Debtors shall irrevocably waive and shall be prohibited from asserting any surcharge
claim, under section 506(c) of the Bankruptcy Code or otherwise, for any costs and expenses
incurred in connection with the preservation, protection or enhancement of, or realization by the
DIP Parties or Prepetition Secured Parties upon the DIP Collateral or the Prepetition Collateral
(as applicabic}. In no event shall the Prepetition Sccured Partics be subject to the equitable
doctrine of “marshaling” or any other similar doctime with respect to the DIP Collateral or the
Prepetition Collateral (as applicable).

19, Discharge Waiver. ‘he DiP Obligations and the Prepetition Secured
Obligations, evidenced by the DIP Documents and the Prepetition Credit Documents,

respectively, shall not be dischareed by the entry of an order confirming any plan of

30

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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 31 of 41

réorganizalion, notwithstanding the provisions of Scction 1141(d) of the Bankruptcy Code,
unless such obligations have been indefeasibly paid in full in cash on or before the effective date
of a confirmed plan of reorganivation, The Debtors shall not propose or support any plan of
reorganization or sale of all or substantially all of the Debtors’ assels or entry of any
confirmation order or sale order thal is not conditioned upon the indefeasible payment in full in
cash, on or prior to the effective date of such plan of reorganization or sale and the Termination
Date, of all DIP Obligations and Prepetition Sccured Obligations unless the DIP Parties and the

Prepetilion Secured Parties (prior to the Prepetition Secured Obligation Paydown Date) have

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otherwise consented in writing to such plan or sale. GSrOlas
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20, Restrictions on Granung Postpetition Liens.\ Other than the Carve- ane

 

Rear erg 3
Out, or as otherwise provided in this Interim Order, no claim having a priority superior or pari

passu with those granted by this Interim Order or the DIP Documents to the DIP Parties and
Prepetition Secured Parties shal) be granted or permitted by any order of this Court heretofore or
hereafier entered in the Chapter 11 Cases, while (i) any portion of the DIP Facility (or
Tefinancing thereof), any Loans or any other DIP Obligations are outstanding or (ii) the DIP
Lenders have any Commitment under the DIP Agreement. Except as expressly permitted by the
DIP Documents, the Debtors will not, at any time during the Chapter 11 Cases, grant mortgages,
security interests or licns in the DIP Collateral (or any portion thercof) to any other parties
pursuant to section 364(d) of the Bankruptcy Code or otherwise.

21. Return of Inventory. The Debtors shall not, (i) prior to the Prepetition
Secured Obligation Paydown Date, without the consent of the Administrative Agent (at the
direction of the Requisite Lenders) and Prepetition Secured Parties, and (ii) on and after the

Prepetition Securcd Obligation Paydown Date, without the consent of the Administralive Agent

31

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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 32 of 41

(al the direction of the Requisite Lenders): (a) enter into any agreement to return any inventory to
any of their creditors for application against any prepetition indebtedness under section 546(h) of
the Bankruptcy Code; or (b) consent to any creditor taking any setoff against any of its
prepetition indebtedness based upon any such return pursuant to section 553(b)(1) of the
Bankruptcy Code or otherwise; provided, with respect to (ji) (a) and (b), such consent shall not
be required if, such agreement, selof/f or recoupment, the aggregate amount of prepetition
Indebtedness (as defined in the DIP Credit Agreement), prepetition trade payables and other
prepetition claims subject to all such agreements, setoffs and recoupments, since the Petition
Date do not exceed $500,000.

22. Automatic Effectiveness of Liens. The DIP Liens and Prepetition
Lender Replacement Liens shall not be subject to Challenge and shall allach and become valid,
perfected, binding, enforceable, non-avoidable and effective by operation of law as of the
Petition Date without any further action by the Debtors, the DIP Parties or the Prepetition
Secured Parties, respectively, and without the necessity of execution by the Debtors, or the filing
or rccordation, of any financing statements, security agreements, vehicle lien applications,
mortgages, flings with a governmental unit (including, without limitation, the U.S. Patent and
Trademark Office or the Library of Congress), or other documents or the taking of any other
actions. All DIP Collateral shall be free and clear of other liens, claims and encumbrances,
except as provided in the DIP Documents and this Interim Order. If the DIP Agent herealter
requests that the Debtors execute and deliver to the DIP Agent financing statements, security
agrecinents, pledge agreements, collateral assignments, mortgages, or other instruments and
documents considered by the DIP Agent to be reasonably necessary or desirable to further

evidence the perfection of the DIP Liens, the Debtors are hereby authorized and directed to

32
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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 33 of 41

execute and deliver such financing stalements, securily agreements, pledge agrecments,
morteages, collateral assignments, instruments, and documents, and the DIP Agent is hereby
authorized to file or record such documents in its discretion without seeking modification of the
automatic stay under section 362 of the Bankruptcy Code, in which event all such documents
shall be deemed to have been filed or recorded at the time and on the Petition Date. The
Prepetition Secured Parties and the Senior Notes Parties are authorized and directed to execute
and deliver all documents and instruments reasonably requested by the DIP Agent to effectuate
and implement the ierms, transactions and lien priorities contemplated by this Interim Order and
the DIP Documents.

23. Automatic Stay; Rights and Remedies Upon Event of Default. Subject

 

io the second sentence of this Paragraph, the automatic stay imposed under section 362(a) of the
Bankruptey Code is hereby modified as necessary to effectuate all of the terms, rights, benefit,
privileges, remedies and provisions of this Interim Order and the DIP Documents in each case
without further notice, motion, application to, order of, or hearing before, this Court. Subject to
the provisions of the DIP Agreement and without further order from this Court, the automatic
slay provistons of section 362 of the Bankruptcy Code are vacated and modified to the extent
necessary to permit the DIP Partics (or any of their respective apents) to exercise, upon the
occurrence and during the continuance of any Event of Default, all rights and remedics provided
for in the DIP Documents, and to take any or all of the following actions without further notice,
motion or application to, order of or hearing before, this Court: (a) immediately terminate the
Debtors’ right, if any, under this Interim Order or the DIP Documents to use Cash Collateral; (b)
cceasc making any Loans to the Debtors; (c) terminate, reduce or restrict any commitment to

extend credit to the Debtors, (d) declare all DIP Obligations to be immediately due and payable;

33

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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 34 of 41

(c) freeze monies or balances in ithe Debtors” accounts; (f) immediately set-off any and all
amounts in accounts maintained by the Debtors with the DIP Agent or any of the DIP Lenders
(or any of their respective agents) against the DIP Obligations, or otherwise enforce all rights and
remedics against the DIP Collateral in the possession of any of the DIP Lenders for application
towards the DIP Obligations, and (g) take any other actions or cxercise any other rights or
remedies permitted under this Interim Order, the DIP Documents or applicable law against the
DIP Collateral to effect the repayment of the DIP Obligations; provided, however, that prior to
the exercise of any right in clause (e), clause (f) and clause (g) of this Paragraph, the DIP Agent
shall be required to provide five (5) Business Days writlen notice to the Debtors (with a copy to
their bankrupicy counsel), counsel to the Committee, DIP Parties and Prepetition Secured
Parties, and the U.S. Trustee, as provided for in Section 9.2 of the DIP Agreement. Upon entry
of the Final Order, no party in interest shall have the right to contest the enforcement of the
rights and remedies set forth in this Interim Order, the Final Order or the DIP Documents on any
basis other than an assertion (hat no Event of Default has occurred, and, execpt with respect to
such an assertion, no party-in-interest shall have the right to enjoin any such enforcement under
section 105 of the Bankrupicy Code or otherwise, or to seek any injunctive relief inconsistent
with the provisions of this Interim Order, the Final Order or the DIP Documents, Unless the
Court determines during such five (5) Business Days notice period that such Event of Default
has not occurred and/or is not continuing, the automatic stay, as to all of the DIP Lenders and the
Prepetition Lender shall automatically be terminated at the end of such notice period, without
further notice or order, and upon expiration of such notice period, the DIP Agent and Prepetition
Agent shall be permitted to exercise all rights and remedies set forth in this Interim Order, the

DIP Agreement, the other DIP Documents, the Prepetition Credit Agreement and the Prepetition

34
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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 35 of 41

Credit Documents, and as otherwise available at law without further notice, motion or
application to, order of or hearing before, this Court. The rights and remedies of the DIP Parties
specified herein are cumulative and not cxclusive of any rights or remedies that the DIP Parties
may have under the DIP Documents or otherwise. The Debtors shall use their commercially
reasonable efforts to cooperate with the DIP Partics in their exercise of their rights and remedies,
whether against the DIP Collateral or otherwise. This Court shall retain exclusive jurisdiction to
hear and resolve any disputes and enter any orders required by the provisions of this paragraph
and relating to the application, re-imposilion or contmuance of the automatic stay as provided
hereunder.

24. Binding Effect. The provisions of this Interim Order shall be binding
upon and inure to the benefit of the Debtors, the DIP Parties, the Prepetition Secured Parties, the
Senior Notes Partics and their respective successors and assigns. To the extent permitted by
applicable law, this Interim Order shall bind any trustee herealier appointed for the estate of any
of the Debtors, whether in these Chapter 11 Cases or in the event of the conversion of any of the
Chapter 11 Cases to a liquidation under chapter 7 of the Bankruptey Code. Such binding elfect
is an inlegral part of this Interim Order.

25, Survival. ‘Uhe provisions of this interim Order and any actions taken
pursuant hereto shall survive the entry of any order: (1) confirming any plan of rcorganization in
any of the Chapter 11 Cases; (ii) converting any of the Chapter 11 Cases lo a chapter 7 case; of
(iii) dismissing any of the Chapter 11 Cases, and the terms and provisions of this Interim Order
as well as the DIP Superpriority Claims and the DIP Liens in the DIP Collateral granted pursuant
to this Interim Order and the DIP Documents (and with respect to the entry of any order as set

forth in clause (i) or (Giii) of this Paragraph 25, the Prepetition Lender Replacement Licns and

35
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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 36 of 41

Prepetition Lender Superpriority Claims) shall continue in full force and effect notwithstanding
the entry of any such order. Such claims and liens shall maimtain their priority as provided by
this Interim Order and the DIP Documents, and to the maximum cxtent permitted by law, until
all of the DIP Obligations are indefeasibly paid in full in cash and discharged. In no event shall
any plan of reorganization be allowed to alter the terms of repayment of any of the DIP
Obligations from those set forth in the DIP Documents unless agreed to by and among the
Debtors and the DIP Parties.

26. Modifications of DIP Documents. The Debtors and the DIP Parties

 

are hercby authorized to implement, in accordance with the terms of the DIP Documents, any
non-material modifications Gncluding without limitation, any change in the number or
composition of the DIP Lenders or the DIP Agent) of the DIP Documents without further notice,
motion or application to, order of or hearing before, this Court, or any other modifications to the
DIP Decuments. Any material modification or amendment to the DIP Documents shall only be
permitted pursuant to an order of this Court, afler being submitied to this Court upon notice to
counsel for any Committee, the U.S. Trustee and the Prepetition Sccured Agent (prior to the
Prepetition Secured Obligations Paydown Date).

27. Insurance Policies, Upon entry of this Interim Order, on each
insurance policy maintained by the Debtors or which in any way relates to the DIP Collateral:
(i) the DIP Parties shall be, and shall] be deemed to be, without any further action or nolice,
named as additional insureds; and (ii) the DIP Agent, on behalf of the DIP Lenders shall be, and
shall be deemed to be, without any further action or nolice, named as loss payee. The Debtors

arc authorized and directed io take any actions necessary to have the DIP Agent, on behalf of the

36
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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 37 of 41

DIP Lenders, be added as an additional insured or loss payee, as applicable, on each insurance
policy maintained by the Debtors or which in any way relates to the DIP Collateral.

28. Protection Under Section 364(e} of the Bankruptcy Code. The DIP
Parties and the Prepetition Sccured Partics have acted in good faith in connection with this
Interim Order and their reliance on this Interim Order is in good faith. Based on the record of
these Chapter 11 Cases, and in accordance with section 364(e) of the Bankruptcy Code, if any or
all of the provisions of this Interim Order are hereafter reversed, modified, vacated or stayed,
such reversal, modification, vacation or stay shall not affect the (i) validity of any DIP
Obligations owing to the DIP Parties, or adequate protection obligations owing to the Prepetition
Secured Parties incurred prior to the actual receipt by the DIP Agent or Prepetition Agent, as
applicable, of written notice of the effective date of such reversal, modification, vacation or stay,
or (it) validity or enforceability of any Loans or other advances previously made or any claim,
licn, sccurity interest or priority authorized or created hereby or pursuant to the DIP Documents
with respect to any DIP Obligations, or adequate protection obligations owing to the Prepetition
Secured Parties. Notwithstanding any such reversal, modification, vacation or stay, any use of
Cash Collateral or the incurrence of DIP Obligations, or adequate protection obligations owing to
the Prepetition Secured Parties by the Debtors prior to the actual receipt by the DIP Agent or
Prepetition Agent, as applicable, of written notice of the effective date of such reversal,
modification, vacation or stay, shall be governed in all respects by the provisions of this Interim
Order, and ihe DIP Parties and the Prepetition Secured Partics shall be cntitled to all of the
rights, remedies, protections and benefits granted under section 364(e) of the Bankruptcy Code,

this Intenm Order, and the DIP Documents with respect to all uses of Cash Collateral and the

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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 38 of 41

incurrence of DIP Obligations, and adcquate protection obligations owing to the Prepetition

Secured Parties.

29, Effect of Dismissal of Chapter 11 Cases. If the Chapter 11 Cases are

 

dismissed, converted or substantively consolidated, then veither the entry of this Interim Order
nor the dismissal, conversion or substantive consolidation of such Chapter 11 Cases shall affect
the righis of the DIP Parties and the Prepetition Secured Partics under their respective DIP
Document and Prepetition Credit Documents or this Interim Order, and all of the respective
tights and remedies thercundecr of the DIP Partics and the Prepetition Secured Parties shall
remain in full force and effecFas+Ftte-Chapter--Cases had-netbeemdismissedy convericd

substantively consolidated. If an order dismissing any of the Chapter 11 Cases is.atany time
entered, such order shall provide (in accordance with Sections 105 and 349-6f the Bankruptcy
Code) that: G) the DIP Liens and DIP Superpriority Claims granted46 and conferred upon the
DIP Parties and the protections afforded to the DIP Partics pysstiant to this Interim Order and the
DIP Documents shall continue m full force and effect and shall maintain their prioritics as
provided in this Interim Order until all DIP Obl¥fations shall have been paid and satisfied in full
in cash (and that such DIP Liens, DH’ Superpriority Claims and other protections shall,
notwithstanding such dismissal, refnain binding on all interested parties); (ii) those Prepetition
Liens, Prepetition Lender Replacement Liens and Prepetition Lender Superpriority Claims
granted to and conferyéd upon the Prepetition Secured Parties shall continue in full force and
effect and shall pfaintain their priorities as provided in this Interim Order until all Prepetition

Sccurcd Ob|iations shall have been paid and satisfied in full m cash (and that such Prepetition

Lender Auperprionty Claims shall, notwithstanding such dismissal, remain binding on all

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interpSted parties): and fill) this Court sha in jurisdiction, noprthstardine_cuch_dismi

38
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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 39 of 41

 

 

 

Superprieciey Gtanms and Prepetition Lender Superpriority Claims referredte-bercin.__.

30. Proofs of Claim. Notwithstanding any order entercd by the Court in
relation to the establishment of a bar date in the Chapter 11 Cases to the contrary, or otherwise,
(1) the DIP Parties and the Prepetition Secured Parties shall not be required to file prools of claim
in the Chapter 11 Cases for any claim allowed herein; and (11) the Senior Notes Indenture Trustee
shall be authorized (but not required) to file a master proof of claim against the Debtors (the
“Senior Notes Indenture ‘lrustec Master Proof of Claim”) on behalf of itsclf and the Senior
Noteholders on account of their prepetition claims arising under the Senior Notes Indenture. If
the Senior Notes Indenture Trustee so files a Senior Notes Indenture Trustee Master Proof of
Claim against the Debtors, the Senior Notes Indenture Trustee and each Senior Noteholder, and
each of their respective successors and assigns, shall be deemed to have filed proofs of claim in
respect of their claims against the Debtors arising under the Senior Notes Indenture, and the
claims of the Senior Notes Indenture Trustee and each Senior Noteholder (and their respective
successors and assigns) shall be allowed or disallowed as if such entitics had filed separate
proofs of claim in the Chapter II Cascs or any successor cases. The Senior Notes Indenture
Trustee shall further be authorized to amend, supplement or otherwise modify its respective
Senior Notes Indenture Trustee Masler Prool of Claim from time to time, to the extent permitted
by applicable law. The provisions set forth in this Paragraph 30 and any Senior Notes Indenture
Trustee Master Proof of Claim filed pursuant to the terms hereof are intended solely for the
purpose of administrative convenience and shall not affect the substantive rights of any party-in-
interest or their respective suecessors-in-interest, including, without limitation, the rights of the

Senor Noles Indenture Trustee and each Senior Noteholder as the holder of a claim against the

39
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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 40 of 41

Debtors under applicable Jaw, and the numerosity requiremenis set forth in section 1126 of the
Bankruptcy Code.

31, Findings of Fact and Conclusions of Law. ‘This Intcrim Order

 

constitutes, where applicable, findings of fact and conclusions of law and shall take effect and be
fully enforceable immediately upon the execution thereof.

32. Choice of Law; Jurisdiction. The DIP Facility and DIP Documents

 

(and the rights and obligations of the partics thereto) shall be governed by, and construed and
interpreted in accordance with, the laws of the State of New York, including, without limitation,
Sections 5-1401 and 5-1402 of the New York General Obligations Law, and, to the extent
applicable, the Bankruptcy Code. Lxcept as otherwise provided in the DIP Agreement, the
Bankruptcy Court shall have exclusive jurisdiction with respect to any and all disputes or matters
under, or arising out of or in connection with, cither the DIP Facility or DIP Documents.

33. Controlling Effect of Interim Order, To the exient any provision of

 

this Interim Order conflicts with any provision of the Motion or any DIP Document, the
provisions of this Interim Order shall control.

34, Objections. Objections to the entry of the Final Order shall be in
writing and shall be filed with the Clerk of this Court, on or before 4:00 p.m. (prevailing Eastern
time) on the date that is five (5) business days prior to and cxcluding the date of the Vinal
Hearing set forth in paragraph 35 below, with a copy served upon: (1) counsel for the Debtors,
Willkic Farr & Gallagher LLP, 787 Seventh Avenuc, New York, New York 10019 (Attn: Paul
V. Shalhoub, Esq. and Robin Spigel, Esq.) and Young Conaway Stargalt & Taylor, LLP, The
Brandywine Building, 1000 West Street, 17th Floor, Wilmington, DE 19801 (Attn: Robert 8.

Brady, Esq. and Mathew B. Lunn, Esq.), (ii} counsel to the DIP Lenders, Prepetition Lender and

40
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Case 09-12452-CSS Doc48 Filed 07/14/09 Page 41 of 41

Ad [Toc Committee of Senior Notehalders, Stroock & Stroock & Lavan LILP, 180 Maiden Lance,
New York, New York 10038 (Attn: Kristopher M. Hansen, Esq. and Jayme T. Goldstein, Esq.)
and Richards, Layton & Finger, P.A., Qne Rodney Square, 920 North King Street, Wilmington,
Delaware 19801 (Alin: Daniel J. DeFranceschi, Fsq.), (111) counsel to be selected by the
Creditors’ Commitlee wpon its formation if selected by such date, and (iv) the Office of the
United States Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, DE 19801 (Attn:
Jane Leamy, Lisq.).

35. Final Hearing. A final hearing on the Motion shall be heard before
this Court on August 1{ , 2009 at(22 0.0, TR: in Courtroom a at the Uniled States

Bankruptcy Court, 824 Market Street, Wilmington, DE 19801.

Dated: July It. 2009,

 

Christopher §, Sontchi
United States Bankruptcy Judge

41

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